                                 Case 8:19-mc-00005-AG-DFM Document 33 Filed 11/02/18 Page 1 of 1 Page ID #:624


  UNITED STATES DISTRICT COURT                                                                   TRANSCRIPT ORDER                                                                            COURT USE ONLY
     DISTRICT OF MINNESOTA                                                 CJA counsel please complete an AUTH24 in CJA eVoucher                                                                  NOTES:
               (Rev. 03/2018)
                                                                                   Please read instructions on next page.

1a. CONTACT PERSON FOR THIS ORDER                                          2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Karen Cook                                                                 619.231.1058                                                            karenc@rgrdlaw.com

1b. ATTORNEY NAME (if different)                                           2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Matthew Alpert                                                             619.231.1058                                                            malpert@rgrdlaw.com


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                             5. CASE NAME (Include defendant number, for criminal cases        6. CASE NUMBER
Robbins Geller Rudman & Dowd LLP                                                                      only)                                                             18-mc00076-
655 W. Broadway, Ste. 1900                                                                            In re Banc of California Sec. Litig.,
San Diego, CA 92110
                                                                                                      8. THIS TRANSCRIPT ORDER IS FOR (CHECK ALL THAT APPLY):              CJA: Do not use this form; use AUTH24 in CJA.
7. COURT REPORTER NAME, if applicable                                                                 ❐ APPEAL         ❐ CRIMINAL                        ❐ In forma pauperis (NOTE: Court order for TRANSCRIPTS must be
                                                                                                                                                        attached)
                                                                                                      ❐ NON-APPEAL     x CIVIL
                                                                                                                                                        ❐ Standing Order (MDL only)

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                          b.             SELECT FORMAT(S)                             c.          DELIVERY TYPE
                                                                                          NOTE: ECF access is included.                            Delivery times are not guaranteed.

      DATE          JUDGE                       PORTION                           PDF         TEXT/ASCII      PAPER       CONDENSED     ORDINARY        14-Day      EXPEDITED    EXPEDITED        DAILY      HOURLY       REALTIME
                                   If requesting less than full hearing,        (email)         (email)                                 (30-day)                     (7-day)      (3-day)       (Next day)    (2 hrs)   (rough draft)
                    (initials)    specify portion (e.g. witness or time)

10/22/18        KMM              3:34-4:39                                        x                                                                       x




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                  12. DATE
                                                                                                                                                                      11/2/18
11. SIGNATURE
s/Karen Cook
